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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 BECTON, DICKINSON AND COMPANY,                   )
                                                  )
                        Plaintiff,                )
                                                  )
            v.                                    )   C.A. No. 21-833 (CFC) (JLH)
                                                  )
 BECKMAN COULTER, INC.,                           )
                                                  )
                        Defendant.                )

                                     JOINT STATUS REPORT

        Pursuant to the Court’s December 29, 2021 Oral Order (D.I. 76), the parties provide this

 joint status report regarding the hearing on Plaintiff’s Motion for Preliminary Injunction set for

 January 7, 2022, at 10:00 a.m.

        Subject to the Court’s availability, the parties request that the Court set aside three hours

 for the hearing (90 minutes per side). Furthermore, unless the Court believes it would be helpful

 to hear testimony from any of the parties’ declarants, neither party will present testimony during

 the hearing. Finally, although the hearing currently is scheduled to be held in person, in light of

 the current state of the Covid pandemic, the parties are prepared to proceed via videoconference if

 that is the Court’s preference.
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 MORRIS, NICHOLS, ARSHT & TUNNELL LLP       SHAW KELLER LLP

 /s/ Jeremy A. Tigan                        /s/ Nathan R. Hoeschen

 Jack B. Blumenfeld (#1014)                 Karen E. Keller (#4489)
 Jeremy A. Tigan (#5239)                    Nathan R. Hoeschen (#6232)
 1201 North Market Street                   I.M. Pei Building
 P.O. Box 1347                              1105 North Market Street, 12th Floor
 Wilmington, DE 19899                       Wilmington, DE 19801
 (302) 658-9200                             (302) 298-0700
 jblumenfeld@morrisnichols.com              kkeller@shawkeller.com
 jtigan@morrisnichols.com                   nhoeschen@shawkeller.com

 Attorneys for Plaintiff                    Attorneys for Defendant

 January 3, 2022




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